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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

SASHA PIPPENGER, SHIRA LOWINGER,
ELIZABETH QUINLAN, CHRIS BOSLEY,
CHESTER A. CROCKER, MOHAMED
KHALIL ABUZNAD, BRAVE GENERATION,
INTERMOTION MEDIA, LLC, PEACE in
PRAXIS, LLC,
c/o Ali & Lockwood LLP
501 H Street NE, Suite 200                              Civil Action No. 1:25-cv-01090
Washington, D.C. 20002
                                                        FIRST AMENDED
                      Plaintiffs,                       COMPLAINT AND DEMAND
       v.                                               FOR JURY TRIAL
U.S. DOGE SERVICE,
736 Jackson Place, N.W.
Washington, D.C. 20503
U.S. DOGE SERVICE TEMPORARY
ORGANIZATION,
Eisenhower Executive Office Building
1650 17th St NW
Washington, DC 20500

U.S. OFFICE OF PERSONNEL
MANAGEMENT
1900 E Street, NW
Washington, DC 20415-1000

U.S. GENERAL SERVICES
ADMINISTRATION
1800 F Street, NW
Washington, DC 20405

U.S. DEPARTMENT OF STATE
2201 C St NW
Washington, DC 20451
AMY GLEASON, in her official capacity as the
Acting Administrator of U.S. DOGE Service and
U.S. DOGE Service Temporary Organization,
736 Jackson Place, NW
Washington, D.C. 20503
NATE CAVANAUGH, in his purported official
capacities as acting Chairman and President of the




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United States Institute of Peace and employee of
U.S. DOGE Service and U.S. DOGE Service
Temporary Organization,
2301 Constitution Ave., NW
Washington, D.C. 20037
KENNETH JACKSON, in his purported official
capacity as acting president of the United States
Institute of Peace,
1300 Pennsylvania Avenue NW
Washington, D.C. 20004

MARCO RUBIO, in his official capacities as the
U.S. Secretary of State and as an ex officio
member of the United States Institute of Peace
Board of Directors,
2301 Constitution Ave., NW
Washington, D.C. 20037
PETE HEGSETH, in his official capacities as the
U.S. Secretary of Defense and an ex officio
member of the United States Institute of Peace
Board of Directors,
2301 Constitution Ave., NW
Washington, D.C. 20037
VICE ADMIRAL PETER A. GARVIN, in his
official capacities as President of the National
Defense University and an ex officio member of
the United States Institute of Peace Board of
Directors,
2301 Constitution Ave., NW
Washington, D.C. 20037
U.S. INSTITUTE OF PEACE,
2301 Constitution Ave., NW
Washington, D.C. 20037
DONALD J. TRUMP, in his official capacity
as President of the United States of America,
1600 Pennsylvania Avenue NW
Washington, D.C. 20500
                       and
TRENT MORSE, in his official capacities as
Deputy Director of Presidential Personnel in the
White House Presidential Personnel Office, the
White House Office, and the Executive Office of




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 the President of the United States,
 1600 Pennsylvania Avenue, NW
 Washington, D.C. 20500

                        Defendants.



                                       INTRODUCTION

       1.      The United States Institute of Peace (“USIP”) is an independent non-profit

organization based in Washington, D.C. that has a purpose of “promot[ing] international peace

and the resolution of conflicts among the nations and peoples of the world without recourse to

violence.” USIP was created via an Act of Congress and organized under the non-profit

corporation laws of the District of Columbia. Until March 2025, USIP owned its own $500 million

headquarters building in Washington, D.C. and maintained an annual budget of roughly $55

million of Congressionally appropriated funds that it used to develop training and education in the

peacebuilding field and resolve violent conflict around the world.

       2.      On March 14, 2025, that all changed. In a bizarre series of events that are anathema

to how the United States government relates to American civil society, federal government

agencies—the Office of Personnel Management (“OPM”) and the General Services

Administration (“GSA”), the United States DOGE Service (“DOGE”), and the other federal

government Defendants in this case broke into USIP’s headquarters using agents from the Federal

Bureau of Investigation (“FBI”) and a leftover skeleton key held by USIP’s former security

contractor, fired USIP’s independent Board of Directors in violation of their statutory removal

protections, usurped USIP’s Board, and arrested USIP’s functioning. Defendants transferred

USIP’s $500 million building to GSA for no consideration, drained the Endowment of USIP—

another independent, legal entity organized under the laws of the District of Columbia—and fired

almost all of its employees and contractors, including those working in active warzones abroad.




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       3.      Plaintiffs in this case—former USIP employees suffering ongoing irreparable

harm; a current USIP Personal Services Contractor (“PSC”) representing USIP in Libya without

protection from USIP’s security apparatus, which has been dismantled; a USIP programming

partner dedicated to engaging youth in Russia and Ukraine in peace dialogues; USIP vendors who

are owed funds from USIP for work that they have performed under lawful contract but have not

been paid; and a donor to the Endowment for the USIP, which has been raided by Defendants—

ask this Court to stop the bloodletting of USIP and the Endowment for USIP—by issuing a

temporary restraining order, enjoining further illegal activities by Defendants, including the now

co-opted USIP itself, and vitiating the irreparable, collateral consequences of Defendants’

unlawful actions that have no other remedy at law.

                                 JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 (federal

question) and 28 U.S.C. § 1343 (action to redress deprivation of rights secured by the Constitution

of the United States).

       5.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and (e)(1). A

substantial part of the events giving rise to the claims herein occurred in this District, Defendants

are agencies and officers of the United States sued in their official capacities or independent

entities based and/or registered in Washington, D.C., and Plaintiffs Elizabeth Quinlan, Chris

Bosley, and Chester A. Crocker reside in this District.




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                                            PARTIES

Plaintiffs

       6.      Plaintiff Sasha Pippenger was the Director of Peace Processes at USIP, overseeing

the team responsible for international mediation, negotiation, dialogues, ceasefires, and

reconciliation, until her employment was terminated on March 28, 2025.

       7.      Plaintiff Elizabeth Quinlan served as the Program Officer for Public Engagement

and D.C. Partnerships at USIP until her employment was terminated on March 28, 2025.

       8.      Plaintiff Chris Bosley was the Acting Director for the Program on Violence and

Extremism at USIP until his employment was terminated on March 28, 2025. Plaintiff Bosley is a

resident of Washington, D.C.

       9.      Plaintiff Shira Lowinger was the Director of Grants and Contracts Administration

in the Office of Finance at USIP until her employment was terminated on March 28, 2025.

       10.     Plaintiff Mohamed Khalil Abuznad is a Libyan national residing in Tripoli, Libya

who is currently employed by USIP as a PSC, where he supports USIP initiatives in that country

ranging from mediation, to supporting ongoing peace processes, counterterrorism programs, and

engagements with local communities affected by violence. Abuznad was given a termination

notice of his contract, effective May 31, 2025.

       11.     Plaintiff Chester A. Crocker is a donor to the Endowment of USIP. He is also a

retired professor of strategic studies at Georgetown University, a former Assistant Secretary for

the Department of State, a former member of the USIP Board of Directors (1992 to 2011), and a

former Board Chair of the USIP Board of Directors (1992-2004). Plaintiff Crocker is a resident of

Washington, D.C.




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       12.     Plaintiff Brave Generation is a registered non-profit organization registered in the

State of New York working with individuals from Russia, Ukraine, and Belarus on dialogue

programming, in partnership with USIP’s Center for Russia and Europe.

       13.     Plaintiff Peace in Praxis, LLC (“Peace in Praxis”) is a limited liability company

registered in the State of Maryland that specializes in research, curriculum development, and

training design for education, training, and nonprofit clients. It has worked with USIP since 2022,

primarily to develop trainings in the peacebuilding field.

       14.     Plaintiff InterMotion Media, LLC (“InterMotion”) is a production company

registered in the State of Virginia that specializes in video content for education, training, and

nonprofit clients. InterMotion has served as a contractor for USIP since 2012, primarily producing

video content for online training courses in the peacebuilding field.

Defendants

       15.     Defendant U.S. DOGE Service (“DOGE”) is an entity that was created within the

 Executive Office of the President by Executive Order 14158.

       16.     Defendant U.S. DOGE Service Temporary Organization (“DOGE TO”) is an entity

that was created within the Executive Office of the President by Executive Order 14158.

       17.     Defendant Office of Personnel Management (“OPM”) is the chief human resources

agency and personnel policy manager for the Federal Government, and at all times relevant to this

Complaint has facilitated DOGE’s unlawful exercise of authority, and vice versa.

       18.     Defendant General Services Administration (“GSA”) is a federal government

agency that provides procurement services, manages federal property, and develops government-

wide operations policies. At all times relevant to this Complaint, GSA has facilitated DOGE’s

unlawful exercise of authority, and vice versa.




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       19.     Defendant U.S. Department of State (“DOS”) is an executive office of the federal

government. At all times relevant to this Complaint, DOS has facilitated DOGE’s unlawful

exercise of authority, and vice versa.

       20.     Defendant Amy Gleason is the Acting Administrator of U.S. DOGE Service and

U.S. DOGE Service Temporary Organization.

       21.     Defendant Nate Cavanaugh is purporting to be the acting president of USIP, and

also serves or has served as an employee of GSA and/or DOGE and/or DOGE TO via assignment

of GSA.

       22.     Defendant Kenneth Jackson, at all relevant times, was purporting to be the acting

president of the United States Institute of Peace while also serving as an employee of DOS.

       23.     Defendant Marco Rubio is the U.S. Secretary of State and is an ex officio member

of the USIP Board of Directors.

       24.     Defendant Pete Hegseth is the U.S. Secretary of Defense and is an ex officio

member of the USIP Board of Directors.

       25.     Defendant Vice Admiral Peter A. Garvin is the President of the National Defense

University and is an ex officio member of the USIP Board of Directors.

       26.     Defendant Donald J. Trump is the President of the United States.

       27.     Defendant Trent Morse is the Deputy Director of Presidential Personnel in the

White House Presidential Personnel Office, the White House Office, and the Executive Office of

the President of the United States.

       28.     Defendant United States Institute of Peace is an independent, non-profit

corporation created by Congress in 1984 that has been coopted, as of March 14, 2025, by the other

Defendants as alleged in this Complaint.




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       29.       Defendant Endowment of the United States Institute for Peace is a 501(c)(3) non-

profit organization registered in Washington, D.C. that was mandated by Congress and created by

USIP to support USIP’s fulfilling its Congressional mandate, and which has been coopted, as of

March 14, 2025, by the other Defendants as alleged in this Complaint.

       30.       For the purpose of this Complaint, all references to “DOGE” are inclusive of U.S.

DOGE Service, DOGE TO, OPM, GSA, and DOS to the extent they are acting in concert.

                                          JURY DEMAND

       31.       Plaintiffs hereby demand a jury trial as to all matters properly triable by jury.

                                    FACTUAL ALLEGATIONS

Structure, Powers, and Functions of USIP

       32.       USIP is an independent nonprofit corporation created by Congress in 1984 via the

United States Institute of Peace Act (“USIP Act”) to promote peaceful conflict resolution

worldwide. 22 U.S.C. § 4601, et seq.

       33.       The purpose of USIP is to

                 serve the people and the Government through the widest possible
                 range of education and training, basic and applied research
                 opportunities, and peace information services on the means to
                 promote international peace and the resolution of conflicts among
                 the nations and peoples of the world without recourse to violence.

Id. § 4601(b).

       34.       Prior to the unlawful conduct at issue here, USIP employed roughly 300 employees

with an annual operating budget of roughly $55 million through Congressional appropriations, and

contracted with PSCs and vendors around the world in furtherance of its global mission.

       35.       USIP acts through a Board of Directors (the “Board”) to advance the purpose of the

USIP through a variety of discretionary activities directed by the Board, such as supporting

scholarly inquiry on international peace and conflict resolution, developing publications,




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establishing a clearinghouse for storing information from the field of peace learning, and creating

one or more legal entities organized under the laws of the District of Columbia to support its

purposes.

       36.     The powers and duties of USIP are, to the extent consistent with the USIP Act, “the

powers conferred upon a nonprofit corporation by the District of Columbia Nonprofit Corporation

Act,” Pub. L. No. 87-569, 17 Stat. 265, 268 (Aug. 6, 1962), with the exception of section 5(o) of

the District of Columbia Nonprofit Corporation Act.

       37.     Because USIP does not have the power conferred under section 5(o) of that Act,

USIP cannot, on its own or through its officers, “cease its corporate activities” or dissolve itself.

       38.     In 2020, Congress passed and President Donald J. Trump signed into law the

“Gandhi-King Scholarly Exchange Initiative Act,” which obligates USIP to create and maintain

“a professional development training initiative.” Congress mandated that: “The president and chief

executive officer of the United States Institute of Peace shall create a professional development

training initiative on conflict resolution tools based on the principles of nonviolence.”

       39.     Congress enumerated four statutorily mandated activities of the Academy, and

expressly prohibited USIP from contracting out this work to other entities.

       40.     The USIP Act makes clear that USIP is a non-governmental entity.

       41.     USIP functions as a non-governmental entity. For example, USIP:

               a. Maintains (or at least maintained) a “.org” domain and not “.gov” for its official
                  website.

               b. Has independent discretion as to whether it responds to “the request of a
                  department or agency of the United States Government to examine, study, and
                  report on any issue [], 22 U.S.C. § 4604(e);

               c. Has independent discretion to enter into personal services and other contracts,
                  22 U.S.C. § 4604(f);




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                 d. Is authorized by law to direct unobligated appropriated funds to its Endowment
                    and spend them “without regard to fiscal year limitations, 22 U.S.C. § 4609(b);

                 e. Maintains its own private auditor, 22 U.S.C. § 4607;

                 f. May sue and be sued, 22 U.S.C. § 4604(k);

                 g. Has power over its land; 1

                 h. Built its own Washington, D.C. headquarters building, a $500 million asset,
                    with privately raised funds;

                 i. Pays its employees via a private payroll provider;

                 j. Maintains its own procurement, grant, and contracting policies that are distinct
                    from the uniform federal policies applicable to the Executive Branch;

                 k. Does not use Office of Personnel Management forms to mark personnel actions
                    because its employees are not employed by the federal government; and

                 l. Does not offer its employees any of the suite of benefits associated with
                    employment in federal agencies, such as the Federal Employee Health Benefits,
                    Federal Employee Retirement System, Thrift Savings Program, and federal
                    travel benefits (such as the General Services Administration City Pair Program
                    negotiated airfares).

          42.    However, USIP is subject to FOIA, has grant-making authority with public

    funds, 22 U.S.C. §§ 4603(c), 4604(b)(1), (d), 4606(b); is tasked with making reports to

    Congress, id. § 4604(c)(3); may obtain services from the General Services Administration, id. §

    4604(o), receives annual Congressional appropriations, and may access classified materials. 22

    U.S.C. § 4603 (e).

          43.    That Congress expressly enumerated these functions and powers distinguishes

    USIP from other federal agencies, for which these functions and powers are assumed and

    therefore not enumerated.



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  Pub. L. 104-201 § 2831 (giving the USIP administrative jurisdiction—effectively a permanent rent-free
tenancy—over three acres); Pub. L. 109-364 § 2842 (giving USIP administrative jurisdiction over an
additional acre, including two buildings that were subsequently renovated and renamed the Bush and
Clinton Buildings).




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 The USIP Board of Directors

       44.        USIP has a 15-member bipartisan Board of Directors. By statute, not more than

eight members of the Board may be from the same political party. 22 U.S.C. § 4605(c).

       45.        Twelve members of the Board are appointed to the Board by the President of the

United States following confirmation by the United States Senate. See 22 U.S.C. § 4605(b)(4).

None of these 12 Board members can simultaneously serve as Government officials, and all must

have commensurate practical or academic experience in peace and conflict resolution efforts. Id.

§ 4605(b), (d).

       46.        Three Board members are ex officio members: the Secretary of State, Secretary of

Defense, and the president of the National Defense University—or their United States Senate-

confirmed designee. Each ex officio member of the Board serves in their role at the pleasure of the

President.

       47.        One member of the non-ex officio Board members is elected by the other non-ex

officio members to serve a three-year term as Chairman of the Board.

       48.        The Board may appoint a president of USIP, who is to oversee the day-to-day

administration of the affairs of USIP and serve as a non-voting ex officio member of the Board.

Board Member Removal

       49.        The 12 non-ex officio Board members can only be removed from their positions in

one of three ways. See 22 U.S.C. § 4605 (b), (d), (f)

       50.        First, the President may remove them “in consultation with the Board, for conviction

of a felony, malfeasance in office, persistent neglect of duties, or inability to discharge duties.”

       51.        Second, “the President may remove them upon the recommendation of eight voting

members of the Board . . . pursuant to action taken at a meeting of the Board.”




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       52.    Third, they may be removed “upon the recommendation of a majority of the

members of the Committee on Foreign Affairs and the Committee on Education and Labor of the

House of Representatives and a majority of the members of the Committee on Foreign Relations

and the Committee on Labor and Human Resources of the Senate.”

The United States DOGE Service

       53.    After assuming office on January 20, 2025, President Trump issued Executive

 Order 14158 entitled “Establishing and Implementing the President’s ‘Department of

 Government Efficiency,’” (the “DOGE EO”). Section one of the DOGE EO states that its purpose

 is to “establish[] the Department of Government Efficiency to implement the President’s DOGE

 Agenda, by modernizing Federal technology and software to maximize governmental efficiency

 and productivity.”

       54.    The DOGE EO further establishes an Administrator reporting to the White House

 Chief of Staff, and establishes the “U.S. DOGE Service Temporary Organization,” (“DOGE

 TO”) headed by the Administrator. DOGE EO, Section 3(b).

       55.    On February 11, 2025, President Trump issued Executive Order 14210 that lays out

 DOGE’s role in “eliminating waste, bloat, and insularity” and its mandate to work with agency

 heads to create and implement hiring plans, including anointing DOGE with the power to decide

 which vacancies should be filled. The DOGE TO Administrator is obligated to “submit a report

 to the President regarding implementation of this order, including a recommendation as to

 whether any of its provisions should be extended, modified, or terminated.”

       56.    The White House publicly announced that Amy Gleason is the Acting

 Administrator of DOGE and/or DOGE TO.




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          57.     As of February 19, 2025, DOGE had at least 34 employees, of which 20 are listed

    as being at the Executive Office of the President and the remaining 14 staffers are listed as

    working at various federal agencies.

          58.     Defendant Nate Cavanaugh—a 28-year-old tech entrepreneur with no prior

    government service and no experience in the field of peacebuilding, and the purported current

    president of USIP—has been widely reported to be employed by and working at the behest of

    GSA, OPM, and DOGE.

          59.     DOGE has an operating budget of $14.4 million. DOGE has established a website

    with a .gov URL (https://doge.gov/) that includes the header “An official website of the United

    States government” and an X account (@DOGE)), both of which are used to promote its work,

    findings, and actions, such as cancelling contracts and grants.

DOGE Has a Track Record of Attempting to Shutter Governmental and Non-Governmental
Agencies and Institutions in Violation of Law

          60.     In implementing President Trump’s Executive Orders pertaining to the size of the

    federal government, DOGE—facilitated by OPM and GSA—has begun systematically

    dismantling and dissolving governmental and non-governmental agencies and institutions that

    receive public funds.

          61.     According to public reporting, DOGE is “exercising significant authority by

    directing agencies to implement various policies, superintending personnel decisions purporting

    to close federal agencies, acquiring access to sensitive databases, and threatening agency officials

    who fail to comply.” 2




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  “Challenging DOGE,” Governing for Impact, Feb. 2025, https://governingforimpact.org/wp-
content/uploads/2025/02/Challenging-DOGEPrimer-final.pdf.




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          62.     In the span of one month, for example, DOGE took over the Office of Personnel

    Management, 3 contributed to a humanitarian crisis and the loss of 50,000 jobs by unlawfully

    attempting to shutter the Congressionally-authorized U.S. Agency for International

    Development, and touted its success in cancelling $1 billion in contracts across 25 agencies and

    cutting $900 million in education funding. 4

          63.     On February 19, 2025, President Trump signed Executive Order 14217. The stated

purpose of the Executive Order is to “reduce the size of the Federal Government,” with “a

reduction in the elements . . . that the President has determined are unnecessary.” The Executive

Order lists federal entities that “shall be eliminated to the maximum extent consistent with

applicable law, and such entities shall reduce the performance of their statutory functions and

associated personnel to the minimum presence and function required by law.”

          64.     The Executive Order names the Institute as one of the entities purportedly covered

by the order. Other listed entities included the Inter-American Foundation (“IAF”) and the U.S.

African Development Foundation (“USADF”).

          65.     On March 4, 2025, DOGE announced that it had reduced IAF, an entity with a $60

million operating budget, to its statutory minimum: one employee.




3
 Will Steakin & Laura Romero, OPM, implementing Musk's DOGE plans, sends federal workers 2nd 'Fork
in the Road' email, ABC News (Feb. 3, 2025), https://abcnews.go.com/US/opm-implementing-musks-
doge-plans-sends-federalworkers/story?id=118401375; Chas Danner, All the Federal Agencies DOGE Has
Gotten Access To, NY Mag. (Feb. 10, 2025), https://nymag.com/intelligencer/article/doge-elon-musk-
whatfederal-agencies-access-lawsuits.html.
4
  Charles Creitz, DOGE announces more than $1B in savings after canceling 104 federal DEI contracts,
FOX News (Jan. 31, 2025), https://www.foxnews.com/politics/doge-announces-morethan-1b-savings-
after-canceling-104-federal-dei-contracts;      Savings,      Dep’t      of    Gov’t       Efficiency,
https://www.doge.gov/savings (last visited Feb. 19, 2025); Zach Montague & Dana Goldstein, Musk Team
Announces Millions in Cuts to Education Dept. Amid Legal Pushback, N.Y. Times (Feb. 11, 2025)




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Defendants Move to Shutter USIP

       66.     On February 20, the day after issuance of EO 14217, a representative of DOGE

contacted USIP. On February 24, Ambassador George Moose, acting president of USIP, and

USIP’s outside counsel, met virtually with DOGE representatives, including Defendant Nate

Cavanaugh.

       67.     The DOGE representatives erroneously asserted that the only statutory

requirements of USIP are the existence of its Board, the appointment of a president, the payment

of incidental expenses for the Board, and the submission of certain reports to Congress and the

Executive Branch.

       68.     On or about March 14, 2025, USIP’s Board of Directors had 14 members: the three

ex officio members under 22 U.S.C. § 4605(b)(1)-(3), and eleven members who had been

appointed with the advice and consent of the Senate pursuant to 22 U.S.C. § 4605(b)(4).

       69.     On or about March 14, 2025, Defendant Trent Morse of the White House

Presidential Personnel Office purported to fire, via email—under the authority of Defendant

President Donald J. Trump—ten members of the Board of Directors (the eleventh Board member

resigned prior to this unlawful firing)—other than the three serving ex officio.

       70.     The termination emails did not state any justification and violated the removal

protections afforded to Board members under the USIP Act.

       71.     Because members of the Board were unlawfully removed by the President, all

subsequent actions by the remaining ex officio members and Defendant Cavanaugh are ultra vires

and void ab initio, including all employment terminations, contract cancellations, and the cessation

of services.




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       72.     Following this unlawful removal, only three Board members remained: Defendants

Secretary of State Marco Rubio, Secretary of Defense Pete Hegseth, and President of the National

Defense University Peter Garvin—all of whom possess their Board seats via service in other

positions in the federal government at the pleasure of the President.

       73.     Also on March 14, 2025, representatives from GSA and/or DOGE and Defendant

Kenneth Jackson appeared at USIP headquarters building requesting access. USIP representatives

denied them entry.

       74.     Later that same evening, Defendants Cavanaugh and other DOGE personnel

returned to USIP headquarters accompanied by FBI Special Agents and presented George Foote,

counsel to USIP, with a “resolution” signed by the three ex officio members of the Board purporting

to remove George Moose from his position as acting president of USIP.

       75.     On March 17, 2025, at approximately 2:30 p.m., four employees of Inter-Con

Security Systems Inc. (“Inter-Con”), USIP’s former security contractor, arrived at USIP

headquarters at the behest of DOGE and/or DOGE TO.

       76.     Inter-Con had been told by GSA and/or DOGE employees that every federal

contract Inter-Con held would be cancelled if they did not let Defendant Jackson into the building.

       77.     Inter-Con employees were unable to enter the building because their badges had

been deactivated upon suspension of USIP’s contract with Inter-Con.

       78.     Upon their failed entry, another Inter-Con employee arrived with a physical key

that USIP had not yet confiscated, and used this key to enter USIP headquarters and let other Inter-

Con employees in.

       79.     After entering the headquarters building, the Inter-Con employees were advised by

USIP staff on-site that they were trespassing. Nevertheless, they continued toward USIP’s gun




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safe, at which point Mr. Foote contacted the Washington, D.C. Metropolitan Police Department (the

“MPD”) to report the unlawful intrusion.

       80.    When MPD officers arrived, they forcibly entered the building, allowing DOGE

and DOGE TO employees to gain unlawful access and begin expelling everyone from the building,

including acting president Moose, USIP staff, and outside counsel Mr. Foote.

       81.    That same day, Anna Kelly, Deputy White House Press Secretary, posted on X in

response to a different message on X with a purported quote from George Moose, president and

CEO of USIP that “DOGE has broken into our building”:




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       82.       Accompanying Ms. Kelly’s message was an image of the undated purported

“resolution” of the Rubio-Hegseth-Garvin Board of Directors to terminate Moose and appoint

Defendant Jackson. At the time, Defendant Jackson also held a position at USAID where he was

leading DOGE’s efforts to dismantle the agency.

       83.       On or about March 18, 2025, DOGE and/or DOGE TO employees started physical

destruction of the USIP building, including tearing the USIP seal off the wall and breaking it into

pieces, and shredding hard copy documents.

       84.       The same day, USIP employees learned that DOGE employees could access all

systems, computers, and phones.

       85.       Later that day, some USIP employees were alerted that DOGE representatives were

sending email messages from USIP email addresses to contractors and program partners on behalf

of USIP program staff.

       86.     When USIP staff lost access to their accounts, they simultaneously lost access to a

virtual private network that allowed staff to connect to USIP’s financial management system, and

thereby their ability to conduct business on behalf of USIP, including paying invoices submitted

by USIP contractors.

       87.     Around this time, USIP had roughly 792 open contracts, orders, or task orders, with

total obligations of approximately $65.7 million. These contractors were located in over 63

countries. As of March 21, 2025, USIP had issued roughly 56 advances that combined equaled

$1,482,535.57.

       88.     On March 19, 2024, Karoline Leavitt, White House Press Secretary, responded to

a question asked during a White House press conference about DOGE’s forced entry into USIP’s

headquarters. She responded as follows:




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              We were made aware of this story by individuals at DOGE, Elon
              Musk’s team, and also at the State Department, who were unable to
              access this building. [And it] became very clear that there was a
              concerted effort among the rogue bureaucrats at the United States
              Institute of Peace to actually physically barricade themselves, essentially,
              inside of the building to prevent political appointees of this
              administration, who work at the direction of the President of the United
              States, to get into the building.

       89.       On Friday, March 21, all USIP employees were instructed via personal email and/or

messaging applications to personal phones to submit their timesheets for the pay period no later

than 5:00 p.m.

       90.       On or about March 25, 2025, a document containing a list of all employees and

PSCs working in country offices, including personally identifiable information, was circulated to

the unsecured personal email addresses of 12 USIP staff members, including country directors and

their respective center vice presidents.

       91.       Several of the staff members whose personally identifiable information was

disclosed in this document are from, live, or work in countries where they would be at risk of

physical harm, including arbitrary arrest, detention, and/or torture, for being associated with the

USIP. These staff were directed to identify a location to which they could safely relocate

themselves by April 9, 2025. Employees and PSCs working in country offices were directed to

submit their relocation plans two days later, by Thursday, March 27, 2025.

       92.       Later that same day, Justin Fox, a GSA employee deployed by and through the

unlawful authority of DOGE, sent an email indicating that all staff should begin taking operational

steps to close offices and programs, including ending of and residential leases, and “should operate

under the assumption that any program exclusive to USIP will begin wind-down on April 9th.”




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       93.     On or about March 21, 2025, Defendant Jackson purported to fire at least six USIP

employees, all of whom had been present at headquarters and involved in preventing DOGE’s

entry into the building on both March 14 and March 17.

       94.     On or about March 25, by a resolution of two of the three ex officio Board members,

Mr. Jackson ended his purported position as acting president of USIP and Nate Cavanaugh was

named in his stead.

       95.     Two of the three ex officio Board members, Defendants Rubio and Hegseth, also

signed a resolution removing Endowment officers and instructing the newly appointed head to

transfer all Endowment assets to USIP.

       96.     Following his appointment as acting president of USIP, Defendant Cavanaugh sent

a letter to GSA requesting that GSA “accept transfer of excess property[,]” USIP’s headquarters—

a $500 million building that USIP, and USIP alone, had built with private donations and owned—

for less than the property’s fair market value.

       97.     Defendant Cavanaugh also communicated that USIP would be “capable” of

advanc[ing] the history, science, art, and practice of international peace and the resolution of

conflicts among nations without the use of violence” without the ownership of a large and

expensive building. 22 U.S.C. § 4601(a)(9). He also stated that USIP’s obligations still included

those set forth in § 4604(b)(1)-(10).

       98.     Prior to Defendant Cavanaugh’s unauthorized and unlawful transfer of the building,

USIP had been the lawful owner of the headquarters building, which was built by private

contractors engaged by USIP and paid for by a combination of special appropriations and private

gifts, as authorized by 22 U.S.C. § 4604(h)(3)(A).




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Mass-Firings Begin on March 28, 2025

       99.     Beginning around 9:00 pm on Friday, March 28, 2025, Plaintiffs and other USIP

employees began receiving termination letters via their personal email addresses.

       100.    The termination emails stated: “This letter is to inform you of a change in your

employment status with United State [sic] Institute of Peace. Effective March 28, 2025, your

employment with us will conclude. We understand that this is a significant change, and we are

committed to supporting you through the offboarding process. Please see the attached USIP Staff

Exit Checklist and send your signed agreement to HumanResources@usip.org.”

       101.    Attached to each email was a document titled, “Separation Agreement and Release

of Claims” dated March 28, 2025 (“the Letter”). The Letter was sent, unsigned, by Mirna Rivas as

“Acting President of Human Resources.”

       102.    The Letter stated that employees were terminated from their positions “[at] the

direction of the President of the United States Institute of Peace” and that employees would receive

on or around April 11, 2025 all unpaid wages and accrued, unused annual leave. Additionally,

employee healthcare benefits would end on March 31, 2025, less than one business day after notice

of termination, with the option to continue benefits at the employee’s expense pursuant to the

Consolidated Omnibus Reconciliation Act (“COBRA”).

       103.    No mention was made as to the impact of termination on other USIP benefits, such

as flexible spending accounts, health spending accounts, or retirement accounts.

       104.    No date was provided for returning the signed Letter, except for those employees

aged 40 or older who were asked to return the letter within 21 days, thereby releasing their right

to an additional 24 days of review pursuant to the Older Workers Benefit Protection Act in the

event of a group layoff.




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          105.    By midnight on March 28, 2025, at least 265 USIP employees had been

terminated.

          106.    This included all 33 employees of the Gandhi-King Global Academy (“GKGA”),

as well as almost all contracting staff and others responsible for essential programming functions

and oversight. Additional PSCs affiliated with the GKGA were terminated on March 31, 2025.

          107.    On or about midnight, March 28, 2025, USIP employees received their paychecks

for work performed under the previous pay period starting March 9, 2025, and ending March 22,

2025.

DOGE Defendants Continue to Dissolve All USIP Programs and Funding

          108.    On March 29, 2025, hours after the now co-opted, DOGE-Rubio-Hegseth-Garvin-

Cavanaugh-controlled USIP terminated the employment of hundreds of USIP employees, Anna

Kelly, Deputy White House Press Secretary, told CBS News via written statement:

                  Taxpayers don’t want to spend $50 million per year on a publicly-
                  funded “research institute” that has failed to deliver peace. President
                  Trump ended the era of forever wars and established peace in his
                  first term, and he is carrying out his mandate to eliminate bloat and
                  save taxpayer dollars. 5

          109.    On March 31, 2025, the official DOGE X account posted:




5
    https://www.cbsnews.com/news/us-institute-of-peace-staff-termination-notices/.




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       110.    Contrary to Defendant DOGE’s suggestion that USIP’s actions were improper,

USIP is authorized to move Congressionally appropriated funds to the Endowment at the end of

every fiscal year pursuant to 22 U.S.C. 4609(b).

       111.    The March 31, 2025 DOGE message also posted a list of four USIP contracts that

had purportedly been cancelled, including one that identified a former member of the Taliban who

was working to advance USIP’s peacebuilding efforts in Afghanistan. Public disclosure of this

information has exposed this contractor to the world as working for USIP and led to death threats

against him and his family has been harassed within Afghanistan.

       112.    On April 1, 2025, the official DOGE X account posted, in reference to the March

31, 2025 USIP X message: “Update: the $13M in taxpayer dollars has been returned to the

Treasury.”




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       113.    Defendant DOGE, and DOGE-co-opted Defendant USIP, have made clear the

intent to shutter USIP permanently, leaving USIP unable to implement any of its programs or

statutorily mandated functions.

       114.    Since GSA/DOGE employee Justin Fox first informed field staff that all

programming would be closing down on April 9, DOGE has continued to communicate further

wind-downs through the end of May.

       115.    On April 12, 2025, all Vice Presidents who had not been fired on March 28 received

termination notices effective April 18. These Vice Presidents oversee USIP’s field offices, which

will remain open until the end of May. These termination notices effectively leave field offices,

field staff, and PSCs without any headquarter supervision or security.

       116.    Summary and surprise termination of all of USIP contracting staff makes it

impossible for USIP to conduct thorough and proper reconciliation between these advances and

the deliverables received to ensure taxpayers funds were spent properly.

       117.    On March 18, 2025, DOGE terminated USIP’s access to the international payment

modality of the Department of Treasury International Treasury Service and terminated USIP’s

ability to transfer funds from the U.S. Treasury to its bank account.




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        118.   On March 20, 2025, Defendant Cavanaugh directed the then-CFO Allison Blotzker

to make Defendant Jackson the sole signatory of the Endowment’s bank accounts.

        119.   On March 24, Defendant Jackson denied the then-CFO Blotzker from requesting

to apportion USIP’s appropriated funds from the Office of Management and Budget for fiscal year

2025.

        120.   On March 24, Defendant Jackson also denied the then-CFO Blotzker’s request to

restore employee access to transfer payroll funds. Defendants fired Blotzer on March 25, 2025.

Plaintiffs Will Suffer Immediate and Irreparable Harm Due to Defendants’ Violations of Law

        121.   Plaintiff Sasha Pippenger was the Director of Peace Processes at USIP until her

employment was terminated on March 28, 2025. Plaintiff Pippenger has been diagnosed with

ankylosing spondylitis, a serious and incurable autoimmune disease that requires a costly drug

infusion treatment every six weeks without lapses.

        122.   Plaintiff Quinlan served as the Program Officer for Public Engagement and D.C.

Partnerships at USIP until her employment was terminated on March 28, 2025. Plaintiff Quinlan

has been diagnosed with a Chiari I malformation in her brain, which, if left untreated, can result

in permanent neurological damage.

        123.   Plaintiffs Pippenger and Quinlan, along with other former employees and their

families who have relied on USIP health insurance, are at imminent risk of dire, long-term health

consequences as a result of the Defendants’ abrupt termination of health insurance and complete

lack of communication regarding alternatives. Defendants’ unlawful conduct has caused Ms.

Quinlan to forego critical and urgent medical testing and treatment, which she will continue to

have to forego absent reinstatement and return of her health insurance coverage.




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       124.    Plaintiff Bosley was the Acting Director for the Program on Violence and

Extremism at USIP until his employment was terminated on March 28, 2025. Mr. Bosley relied

on existing USIP policies & practices related to termination and severance when deciding to start

the process of having a baby with his spouse via surrogacy. Having been abruptly terminated with

no notice or severance, he cannot be sure of his ability to move forward with surrogacy.

       125.    Defendants DOGE and DOGE-co-opted Defendant USIP, have taken significant

steps towards permanently dissolving USIP, and as a result, Plaintiffs Pippenger, Quinlan, and

Bosley, and all other terminated employees, will lose the ability to participate in USIP’s COBRA

health insurance coverage.

       126.    Plaintiff Mohamed Khalil Abuznad is a Libyan national residing in Tripoli, Libya

who is currently employed by USIP as a PSC. Abuznad faces imminent and irreparable harms

should his contract be abruptly terminated or his name publicized, as DOGE has done for another

USIP contractor. Abuznad has already lost access to security protections—DOGE had cancelled

the security services team contract. On April 11, Abuznad received a termination notice of his

contract, effective May 31, 2025. The imminent termination of his contract will expose him to

additional personal risk, leaving Abuznad and his family vulnerable to targeting and retaliation,

including death threats.

       127.    Plaintiff Brave Generation, a non-profit entity that partners with USIP’s Center for

Russia and Europe on dialogues, trusted USIP and its employees to maintain secure and

confidential data management protocols. Brave Generation participants and their families in

Ukraine and Russia could face serious, irreparable harms should their participation in peace

dialogues be disclosed, which is imminently likely due to DOGE’s seizure of communications and




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data at USIP—DOGE has already leaked confidential information about grantees and continues to

do so.

         128.   Plaintiff Crocker is a donor to the Endowment of USIP, who specifically pledged

money to USIP for supporting a permanent named conference room at USIP headquarters and

peacebuilding activities on campus. His donation has now been co-opted by DOGE and the

DOGE-Rubio-Hegseth-Cavanaugh-controlled USIP and Endowment for USIP, and his

contributions have not been used consistent with the lawful purposes of such donations. This co-

option is contrary to his intent and the conditions of his donations, and he fears that the impact of

his donation—supporting USIP’s mission—will be permanently lost if DOGE continues to

transfer assets from the Endowment. He suffers reputational harm from Defendants’ ongoing,

baseless maligning of USIP.

         129.   Plaintiffs InterMotion, LLC and Peace in Praxis, LLC, both contractors of USIP,

are owed money by USIP for work done pursuant to lawful contract, and, despite their best efforts,

have been unable to collect. If USIP is shuttered, they will lose the ability to obtain recompense

for work already performed. USIP’s breach of contract and failure to provide required notice of

cancellation of contract also poses imminent reputational and business harms to USIP contractors,

many of whom are small businesses and are unable to pay subcontractors.

         130.   Plaintiff Shira Lowinger was the Director of Grants and Contracts Administration

in the Office of Finance at USIP until her employment was terminated on March 28, 2025, and

attests to the serious and myriad harms caused by the abrupt cancellation of hundreds of USIP

contracts around the world, including in active warzones. The abrupt decision to terminate the

majority of USIP employees and contractors, and to cancel contracts without notice or final

payment, is extremely harmful to USIP and its personnel, and has resulted in irreparable




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consequences for USIP’s operations, legal protections, and the safety and financial security of

USIP’s employees, contractors, and research subjects.

        131.    If USIP is shuttered, Plaintiffs Pippenger, Quinlan, Bosley, Lowinger, and others,

will have no other remedy at law for redress of Defendants’ illegal actions that caused termination

of their employment.

        132.    All Plaintiffs who are currently employed by or have been terminated by

Defendants suffer the reputational harm of being baselessly maligned by Defendants on X and in

the media as “rogue” and wasteful bureaucrats defying the United States Government and the

taxpayer’s expense.

        133.    Further delay in reinstating terminated employees and PSCs will irreparably harm

them—they have been left without income and many will be forced to seek other employment to

make up for this loss.

        134.    The Defendants’ actions will also prevent any possibility that USIP as an

independent entity can survive—employee-Plaintiffs and others similarly situated are skilled

professionals with decades of experience carrying out USIP’s mission. They cannot, without

income and attendant benefits, wait for litigation to play out for years while Defendants have

clearly shown they are capable of dissolve USIP in a matter of weeks.

                                FIRST CAUSE OF ACTION
Ultra Vires Action in Violation of 22 U.S.C. § 4605(f) and Violation of U.S. Const. Art II, § 3
                    (Against Defendants President Donald J. Trump and
                           Trent Morse in their official capacities)

        135.      Plaintiffs hereby re-allege and incorporate by reference all paragraphs above as

if fully set forth here.

        136.      Under the USIP Act, Congress established USIP as an independent nonprofit

corporation governed by a Board of Directors. 22 U.S.C. § 4603(b), § 4605(a).




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       137.     The USIP Act set out the exclusive methods and circumstances under which a

member of the Board appointed with the advice and consent of the Senate under 22 U.S.C. §

4605(b)(4) may be removed. 22 U.S.C. § 4605(f).

       138.     The notices emailed to such Board members by Defendant Trent Morse on behalf

of President Trump purporting to terminate the Board members did not satisfy any of the methods

or bases for removal in 22 U.S.C. § 4605(f).

       139.     President Trump failed to comply with 22 U.S.C. § 4605(f)(1) by purporting to

terminate members of the Board without “consult[ing] with the Board” and without identifying

any “conviction of a felony, malfeasance in office, persistent neglect of duties, or inability to

discharge duties.” 22 U.S.C. § 4605(f)(1).

       140.     President Trump exceeded his authority pursuant to 22 U.S.C. § 4605(f)(2) by

purporting to remove the members of the Board without “the recommendation of eight voting

members of the Board.”

       141.     President Trump exceeded his authority pursuant to 22 U.S.C. § 4605(f)(3) by

purporting to remove the members of the Board without “the recommendation of a majority of

the members of the Committee on Foreign Affairs and the Committee on Education and Labor

of the House of Representatives and a majority of the members of the Committee on Foreign

Relations and the Committee on Labor and Human Resources of the Senate [now the HELP

Committee]”.

       142.     Accordingly, President Trump’s actions to remove the members of USIP’s Board

are unlawful, ultra vires, and without legal effect, and have caused Plaintiffs to suffer and

continue to suffer imminent and irreparable harm.

       143.     Defendant Donald J. Trump’s ultra vires act also violates Art II, § 3 of the United




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States Constitution. The Take Care Clause provides that the Executive must “take Care that the

Laws be faithfully executed.” U.S. Const. Art. II, § 3. The Executive violates the Take Care

Clause where it fails to execute or otherwise acts contrary to statutes enacted by Congress and

signed into law.

       144.        Defendant Trump’s unlawful removal of the Board members runs afoul of the

Constitution’s command that the Executive faithfully execute federal law.

                               SECOND CAUSE OF ACTION
                 Violation of Administrative Procedure Act, 5 U.S.C. § 706(2)
               (Against Defendants GSA, OPM, DOS, DOGE, and DOGE TO)

       145.        Plaintiffs repeat, reallege, and incorporate the allegations in the paragraphs above

 as though fully set forth herein.

       146.        Under the Administrative Procedure Act (“APA”), this Court is empowered to

 “hold unlawful and set aside agency action, findings, and conclusions found to be”: (1)

 “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law”; (2)

 “contrary to constitutional right, power, privilege, or immunity”; (3) “in excess of statutory

 jurisdiction, authority, or limitations, or short of statutory right”; or (4) “without observance of

 procedure required by law.” 5 U.S.C. § 706(2).

       147.        DOGE is an agency subject to the APA.

       148.        DOGE violated the APA when it forced entry into USIP’s privately-owned

 headquarters, seized USIP’s assets without consideration, including its $500 million

 headquarters, and destroyed USIP’s records for the purpose of harming USIP, its employees,

 and other constituents.

       149.        DOGE’s actions constitute “final agency action[s] for which there is no other

 adequate remedy.” 5 U.S.C. § 704.




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      150.     DOGE’s actions are “arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A).

      151.     DOGE has no legitimate rationale or reasoned analysis that justifies the agency

and its employees to muster private security contractors or engage law enforcement to forcibly

enter a building owned and occupied by an independent non-profit corporation, or to seize

control and possession of the building and all physical property therein.

      152.     DOGE’s decision to seize and permanently transfer ownership of USIP

headquarters and the decision to seize and permanently transfer USIP Endowment assets is

substantively unreasonable, DOGE has offered no legitimate rationale for its conduct, and

DOGE has failed to consider Plaintiffs’ reliance interests and the assets required for USIP to

perform its statutorily mandated functions.

      153.     To date, DOGE’s expressed rationales for its misdeeds have been pretextual and

unsupported by any reasoned analysis, and do not render lawful support for Defendants’

conduct.

      154.     DOGE’s actions have caused Plaintiffs to suffer and continue to suffer imminent

and irreparable harm.

      155.     As a result of DOGE’s final agency action, Plaintiffs have suffered and continue

to suffer irreparable harm.

                               THIRD CAUSE OF ACTION
             Violation of the Administrative Procedure Act, 5 U.S.C. § 706(2)
           (Against Defendants GSA, OPM, DOS, DOGE, DOGE TO, and USIP)

      156.     Plaintiffs repeat, reallege, and incorporate the allegations in the paragraphs above

as though fully set forth herein.

      157.     Under the APA, this Court is empowered to “hold unlawful and set aside agency




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action, findings, and conclusions found to be”: (1) “arbitrary, capricious, an abuse of discretion,

or otherwise not in accordance with law”; (2) “contrary to constitutional right, power, privilege,

or immunity”; (3) “in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right”; or (4) “without observance of procedure required by law.” 5 U.S.C. § 706(2).

      158.     DOGE is an agency subject to the APA.

      159.     In the alternative, USIP is an agency subject to the APA.

      160.     Individually and collectively, the decision to effectively dismantle USIP by

DOGE and/or the DOGE-co-opted USIP constitutes “final agency action for which there is no

other adequate remedy.” 5 U.S.C. § 704.

      161.     DOGE and/or USIP have violated 5 U.S.C. § 706(2) in the following ways:

      162.     First, these Defendants’ actions, individually and collectively, are “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.

§ 706(2)(A).

      163.     Defendants have given no legitimate explanation for their decision to dismantle

USIP by (1) summary removal of its Board members; (2) terminating over 250 employees, (3)

terminating benefits, (4) abruptly cancelling contracts with ineffective notice, (5) threatening to

wind-down all international programs and grants and terminate all overseas personal service

contractors, (6) dissolving the Gandhi-King Global Academy, and (7) shutting down the USIP

website and render inaccessible all electronic resources.

      164.     The absence of “reasoned analysis” accompanying Defendants’ actions render

them arbitrary and capricious. Defendants have also failed to consider the reliance interests of

Plaintiffs, and have offered no legitimate rationale for the decision to shutter USIP and the

conduct taken in furtherance of that act.




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      165.     Despite the fact that Defendant Cavanaugh has expressly confirmed that USIP is

still responsible for its mandate pursuant to 22 U.S.C. § 4601(a)(9), as well as the obligations

enumerated in § 4604(b)(1)-(10), Defendant DOGE/DOGE TO has eviscerated all internal

systems and processes, terminated all employees with relevant training and experience, and has

left no mechanisms in place to implement programs or manage contracts.

      166.     To date, Defendants’ expressed rationales for their misdeeds have been either

pretextual and/or lacking any reasoned analysis, and do not render support for Defendants’

unlawful conduct.

      167.     Second, the final decision of Defendant DOGE and/or the DOGE-co-opted USIP

to effectively shutter USIP is “not in accordance with law” and is “in excess of statutory

jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(A), (C).

      168.     Congress established USIP via the USIP Act, which expressly withholds from

USIP the power to “cease its corporate activities” or dissolve itself, incorporating by reference

the District of Columbia Nonprofit Corporation Act. 22 U.S.C. § 4603(b); id. § 4604(a) (all

powers except section 5(o) of the District of Columbia Nonprofit Corporation Act); Pub. L. No.

87-569, 17 Stat. 265, 268 (Aug. 6, 1962).

      169.     The actions of Defendant DOGE and Defendant USIP to dismantle USIP violate

this statutory mandate.

      170.     Further, the Gandhi-King Act mandates that USIP establish and operate the

Gandhi-King Global Academy, “a professional development training initiative on conflict

resolution tools based on the principles of nonviolence.” DOGE/DOGE TO and USIP

Defendants have expressly violated this mandate by terminating all employees of this Academy,

eliminating all of USIP’s contracting staff and systems, cutting off funding streams, and




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 effectively ceasing its existence.

       171.     Third, the final decisions of DOGE and/or USIP are also “contrary to

 constitutional right, power, privilege, or immunity.” 5 U.S.C. § 706(2)(B). Defendants’ conduct

 violates the separation of powers, including the legislature’s exclusive authority to make law,

 U.S. Const. art. I, § 1, by unilaterally ceasing statutorily mandated functions and effectively

 shuttering an agency that Congress has created by statute.

       172.     As a result of Defendant DOGE and/or Defendant USIP’s final agency action,

 Plaintiffs have suffered and continue to suffer irreparable harm.

                            FOURTH CAUSE OF ACTION
                        Ultra Vires Action by Federal Employees
     (Against Defendants Gleason, Cavanaugh, Jackson, Rubio, Hegseth, and Garvin)

       173.     Federal courts possess the power in equity to grant equitable and injunctive relief

“with respect to violations of federal law by federal officials.” Armstrong v. Exceptional Child

Ctr., Inc., 575 U.S. 320, 326-27 (2015); Larson v. Domestic & Foreign Com. Corp., 337 U.S.

682, 689 (1949) (equitable relief available against federal officials who act “beyond th[e]

limitations” imposed by federal statute).

       174.     Defendants Gleason, Cavanaugh, Jackson, Rubio, Hegseth, and Garvin, as

individual federal employees in their official capacities as acting Administrator of DOGE, acting

president of USIP, and ex officio Board Members of USIP, have acted unlawfully and exceeded

the scope of their statutory authority, and violated constitutionally mandated separation of

powers.

       175.     These Defendants do not have the power to “cease [USIP’s] corporate activities”

or dissolve it. 22 U.S.C. § 4603(b); id. § 4604(a) (all powers except section 5(o) of the District

of Columbia Nonprofit Corporation Act); Pub. L. No. 87-569, 17 Stat. 265, 268 (Aug. 6, 1962).




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They also do not have the power to disregard the Gandhi-King statutory edict to create and

operate a professional development training initiative on conflict resolution tools based on the

principles of nonviolence.

         176.     As a result of these Defendants’ actions, Plaintiffs have suffered and continue to

suffer irreparable harm.

                                  FIFTH CAUSE OF ACTION
                        Violation of the Separation of Powers/Ultra Vires
                                         (All Defendants)

         177.     Plaintiffs have an implied right of action under the Constitution to challenge

governmental action that violates the separation of powers. Free Enter. Fund v. Pub. Co. Acct.

Oversight Bd., 561 U.S. 477, 491 n.2 (2010).

         178.     The power to make law resides exclusively with the legislative branch. U.S.

Const. art. I, § 1.

         179.     The Constitution vests executive power in the President, U.S. Const., art. II, and

imposes on the President a duty to “take Care that the Laws be faithfully executed,” U.S. Const.

art. II, § 3.

         180.     The President and Executive Branch have no constitutional power to unilaterally

enact, amend, or repeal parts of duly enacted statutes. Clinton v. City of New York, 524 U.S. 417,

438-39 (1998).

         181.     Congress exercised its Article I legislative authority to create USIP as an

independent nonprofit entity. Congress has also exercised its Article I legislative authority to

mandate that USIP carry out specific functions. Defendants’ actions unlawfully usurp Congress’s

legislative authority and are therefore ultra vires.

         182.     Therefore, Defendants’ actions were taken without legal authority and are ultra




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vires.

         183.      As a result of these Defendants’ actions, Plaintiffs have suffered and continue to

suffer irreparable harm.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request that the Court enter each of the following

forms of relief:

         a.     Issue a temporary restraining order to (1) enjoin USIP, the Endowment of
                USIP, USIP’s Board, and USIP’s officers from transferring any assets
                outside of USIP or the Endowment for USIP; (2) enjoin USIP, USIP’s
                Board, and USIP’s officers from any new termination of USIP
                employment or contracts; (3) restore all USIP employees terminated since
                March 14, 2025 to their prior roles on paid leave status so that they can
                obtain the health insurance, immigration, and other collateral benefits of
                employment while this litigation unfolds; (4) enjoin Defendants from
                publishing and/or disclosing any information pertaining to the identify of
                current and former employees, grantees, program partners, contractors, or
                PSCs;

         b.     Declare that USIP’s Board and officers as of March 14, 2025 are the
                lawful Board members and officers of USIP;

         c.     Declare that all action taken by Defendants following the removal of USIP
                Board members violated the Administrative Procedure Act, was ultra
                vires, and violated the separation of powers;

         d.     Declare that USIP and its Endowment are the lawful owners of the USIP
                headquarters building at 2301 Constitution Ave NW;

         e.     Award Plaintiffs nominal damages;

         f.     Award Plaintiffs reasonable fees, costs, expenses, including attorneys’
                fees; and

         g.     Grant such other relief as this Court deems necessary, just, and proper.




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Dated:       April 14, 2025

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*Application for admission pro hac vice forthcoming.




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